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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUNIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, THOMAS BAKER
    and JOHN DOE,
                          Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES       Civil Action No. 3:17-cv-00072-NKM
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,
    IDENTITY EVROPA, MATTHEW
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                           Defendants.

   PLAINTIFFS’ RESPONSE TO DEFENDANT CHRISTOPHER CANTWELL’S PRO SE
   MOTION REQUESTING TRANSPORTATION TO CHARLOTTESVILLE FOR TRIAL
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          While Plaintiffs disagree with Defendant Cantwell’s characterizations of the conduct of

   Plaintiffs’ counsel and the Court, Plaintiffs do not oppose Defendant Cantwell’s request to be

   transported to the courthouse for trial.




   Date: August 23, 2021

                                                     Respectfully submitted,



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                                  CERTIFICATE OF SERVICE

          I hereby certify that on August 23, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:

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          I hereby certify that on August 23, 2021, I also served the following non-ECF participants
   via mail and electronic mail:

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